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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

SEAFREEZE SHORESIDE, INC., et al.,

                          Plaintiffs,

      v.
                                                   Civil Action No. 1:22-cv-11091-IT
UNITED STATES DEPARTMENT OF THE
INTERIOR, et al.,                                  Hon. Indira Talwani
                          Defendants,              ORAL ARGUMENT REQUESTED
      v.

VINEYARD WIND 1 LLC,

                          Intervenor-Defendant


 VINEYARD WIND 1 LLC’S MEMORANDUM OF LAW IN FURTHER SUPPORT OF
   ITS CROSS-MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION TO
     SEAFREEZE SHORESIDE, INC.’S MOTION FOR SUMMARY JUDGMENT




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                                              INTRODUCTION

             The Cross-Motions for Summary Judgment filed by Vineyard Wind and the Federal

     Defendants established that Plaintiffs lack Article III standing or prudential standing for all of their

     claims except those under the Outer Continental Shelf Lands Act (“OCSLA”). Even if the claims

     for which Plaintiffs lack standing were considered on the merits, there is no support for them in

     either the applicable law or the administrative record. The same is true for Plaintiffs’ OCSLA

     claims. Therefore, the Court should deny summary judgment to Plaintiffs and grant summary

     judgment to Vineyard Wind and the Federal Defendants. 1

I.       Plaintiffs Lack Article III Standing for Environmental Claims

             As Vineyard Wind demonstrated in its opening brief, established caselaw prohibits the

     corporate commercial fishing plaintiffs and the associations that represent them from invoking the

     recreational, aesthetic, or spiritual injuries allegedly suffered by non-party individuals to satisfy

     Plaintiffs’ Article III standing requirements. Similarly, Plaintiff associations cannot establish

     associational standing where alleged environmental interests are not germane to the association’s

     purpose. See Doc. No. 87 at 3-7. Realizing their error, Plaintiffs now abandon their opening brief’s

     theory of Article III standing and instead seek to reengineer their standing theory through isolated

     statements in the declarations purportedly showing environmental injuries to the corporate

     plaintiffs directly.

             This alternative approach creates new obstacles for Plaintiffs. First, the declarations say

     little about environmental injuries to the corporate and association Plaintiffs themselves, focusing

     on non-party individuals instead. Second, by shifting the focus away from attestations of



     1
      To avoid unnecessary duplication, Vineyard Wind adopts by reference, as if fully incorporated
     herein, the arguments raised in the Federal Defendants’ Reply in Support of Motion for Summary
     Judgment, Doc. No. 93, and presents the arguments here as a supplement.
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recreational, aesthetic, and spiritual injuries to opining on the Project’s purported impacts on the

marine environment, the declarations become inadmissible under the Federal Rules of Civil

Procedure and the Federal Rules of Evidence. Third, Plaintiffs’ abandonment of purported

aesthetic, recreational, and spiritual injuries means they have no Article III standing for their

Endangered Species Act (“ESA”), Marine Mammal Protection Act (“MMPA”), and Clean Water

Act claims. In addition, Plaintiffs failed to respond to arguments challenging their standing for

various other claims, such as those related to the 2020 Biological Opinion (“BiOp”) or horseshoe

crabs. See Section I.C, infra. Lastly, Plaintiffs offered no evidence that environmental interests are

germane to the associational plaintiffs’ mission and purpose. Therefore, Plaintiffs’ standing is

limited to their OCSLA claims.

        A. There is No Admissible Evidence of Environmental Injuries to Plaintiffs Themselves

        Rightfully, Plaintiffs have abandoned their opening brief’s theory of Article III standing

that relied on the aesthetic, recreational, and spiritual interests of non-party individuals. 2 Plaintiffs’

reply attempts to re-cast their approach by suggesting that Mr. Aripotch’s personal environmental

interests and those of the corporate plaintiffs are indistinguishable. In support of this new position,

Plaintiffs’ brief resorts to paraphrasing Mr. Aripotch’s declaration in a way that misrepresents his

actual statements. Compare Doc. No. 90 at 1-2 with Doc. No. 66-1 ¶¶ 13 (Mr. Aripotch’s

“understanding” of the Project and unsupported opinions on environmental impacts, such as noise

and electromagnetic energy), 20 (alleging injuries from entanglement and radar interference, not

environmental impacts), 21 (Mr. Aripotch’s “aesthetic and spiritual pleasures of fishing”), 24



2
  See, e.g., Doc. No. 66-1, Aripotch Decl. ¶¶ 21-23, 25-29, 31-34 (pleasures of being at sea and
viewing right whales); Doc. No. 66-2, Williams, Sr. Decl. ¶¶ 25-28, 32-34 (“aesthetic and
emotional pleasures” from fishing and its lifestyle); Doc. No. 66-8, Lapp Decl. ¶¶ 52-54, 56-57,
59, 61-63 (asserting “aesthetic, psychological, emotional, and spiritual” injuries on behalf of
Seafreeze employees and herself due, in part, to purportedly forcing right whales to “flee”).


                                                    2
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(unsupported opinion that fish will leave the area, be unable to spawn, and exposed to “almost

100,000 gallons of oil”), 27 (“amazing experience” of viewing right whales and opining that they

will be deafened and driven into shipping lanes), 28 (unsupported “understanding” that Project

will cause “devastation” of right whale “critical habitat” and electromagnetic frequencies and noise

will harm whales), 29 (unsupported “understanding” that Project “will result in harm, injury, and

death” to marine species “that I enjoy”), 31-33 (asserting aesthetic and psychological harms to Mr.

Aripotch, not plaintiff Old Squaw Fisheries). Each of these paragraphs involves either Mr.

Aripotch discussing his environmental interests or providing inadmissible opinion testimony, as

discussed further below. The named Plaintiffs are not mentioned.

       B. Plaintiffs’ Opinions on Harm to the Marine Environment are Inadmissible

       By re-characterizing their declarations as opining on purported harms to the marine

environment instead of alleged injuries to personal aesthetic, recreational, or spiritual interests,

Plaintiffs’ statements became inadmissible for summary judgment purposes. Plaintiffs cite to Mr.

Aripotch’s unsupported opinions as evidence that Old Squaw Fisheries will be harmed by, “among

other things, pile driving, jet plow, and creating excessive underwater noise,” harm to unspecified

marine species, destabilization of “the marine ecosystem,” and generally “making the Vineyard

Wind area unfishable.” Doc. No. 90 at 5. In fact, Mr. Aripotch freely opines on complex scientific

and technical matters to allege injuries, such as “I think offshore wind is going to change the way

the fish migrate,” “destroy the larvae of squid and eels,” harm “squid and other bait fish” through

“the electromagnetic frequency in the cables,” and that “the fish aren’t going to like the noise and

sound from the turbines,” meaning they “likely will be unable to spawn as they normally do,”

adversely affecting “all the animals in the food chain.” Doc. No. 66-1 at 24. None of these opinions

is supported by first-hand knowledge, expertise, or citations to the administrative record.




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       “An affidavit or declaration used to support or oppose a motion must be made on personal

knowledge, set out facts that would be admissible in evidence, and show that the affiant or

declarant is competent to testify on the matters stated.” Fed. R. Civ. P. 56(c)(4); see also Garside

v. Osco Drug, Inc., 895 F.2d 46, 49-50 (1st Cir. 1990) (party must adduce admissible evidence to

defeat summary judgment and opinions “may defeat summary judgment only where it appears the

affiant is competent to give an expert opinion.”). Each of the opinions described above, and similar

opinions in Mr. Aripotch’s declaration, are barred by Federal Rule of Evidence 701, as they are

not based on personal perception, 3 and by Rule 702 as the opinions require “scientific, technical,

or other specialized knowledge,” such as in marine biology, that Mr. Aripotch does not possess.

See Wade v. Touchdown Realty Grp., LLC, 386 F. Supp. 3d 56, 63 (D. Mass. 2019) (Rule 701

testimony limited to “opinion testimony based on their ‘experiential expertise’ so long as it is ‘well

founded on personal knowledge and susceptible to cross-examination.’”) (quoting United States

v. Vega, 813 F.3d 386, 394 (1st Cir. 2016)); Shahzade v. Gregory, 923 F. Supp. 286, 287 (D. Mass.

1996) (Rule 702 testimony is limited to “scientific knowledge,” meaning it must be reliably

“grounded in the methods and procedures of science” and “more than subjective belief or

unsupported speculation”).

       This is true for all of the declarants’ opinions on the Project’s alleged harms to the marine

environment. See, e.g., Doc. No. 66-2, Thomas E. Williams, Sr. Decl. ¶ 24 (construction and

operations will disrupt and displace squid and “other marine life, throwing the local marine

ecosystem out of balance”); Doc. No. 66-3, Thomas H. Williams Decl. ¶ 14 (pile driving will

produce “low frequency noise and vibration and the continuous operation of the turbines will



3
  Mr. Aripotch bases his knowledge of the Project and its purported harms to the environment on
“[m]y understanding” without explaining how he formed that understanding. See Doc. No. 66-2
¶¶ 19, 29, 30.


                                                  4
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produce further noise and vibration and electromagnetic energy that will disturb existing marine

life, including squid”); Doc. No. 66-5, Haran Decl. ¶ 21 (“adverse ecological impacts attributable

to the Vineyard Wind project constitute the pollution of those waters and the degradation of the

local ecosystem, to the detriment of all living things in those waters”); Doc. No. 66-6, Brady Decl.

¶ 26 (Project will result in “the devastation of” right whale “critical habitat through conversion” to

“a hard-bottom substrate … often exposing cabling spewing electromagnetic energy, and constant

low-frequency noise” forcing right whales “to flee the Vineyard Wind lease area”). None of these

unsupported, unqualified opinions is admissible. Because Plaintiffs provide no admissible

evidence of the Project’s potential effects on the marine environment, they have no competent

evidence of environmental injuries to the corporate and associational plaintiffs necessary to

establish standing to advance these claims. 4

       C. Plaintiffs Have no Theory to Save Their ESA, MMPA, or Clean Water Act Claims or
          Other Claims Where Plaintiffs Have Asserted no Cognizable Injury

       Even if the Court accepts Plaintiffs’ unsupported lay opinions, Plaintiffs lack standing for

their ESA and MMPA claims because they have not demonstrated that they will be injured by any

potential harm to a right whale. Plaintiffs never even try to establish a relationship between right

whales and the species they harvest, and, as these corporations are in the business of commercial

fishing, they have no aesthetic, recreational, or spiritual interests in the whales. Consequently,

Plaintiffs lack Article III standing for their ESA or MMPA claims. Similarly, Plaintiffs offer no




4
 Vineyard Wind did not contest the admissibility of these statements previously because Plaintiffs
relied on claims of injury to individuals’ aesthetic, recreational, and spiritual interests in their
motion for summary judgment. Thus, the various inadmissible opinions were not material to
Plaintiffs’ standing argument at that time. Plaintiffs’ reply, however, presents these inadmissible
opinions front-and-center.


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explanation as to how the corporate plaintiffs are injured by the Corps’ issuance of a Clean Water

Act permit to Vineyard Wind. 5

        Vineyard Wind demonstrated that Plaintiffs failed to show any cognizable injury from (1)

the superseded 2020 BiOp, (2) re-initiation of ESA consultation, (3) BOEM’s resumption of work

on the Final Environmental Impact Statement (“EIS”), (4) approval of Vineyard Wind’s Site

Assessment Plan, or (5) BOEM’s use of the pre-2020 NEPA regulations. Doc. No. 86 at 8-11.

Plaintiffs declined to address these arguments, claiming instead that the alleged violations

“resulted from” the Smart From the Start Policy. Doc. No. 90 at 39. Plaintiffs have now twice

failed to identify any injuries from these alleged violations and therefore, this Court should hold

that they lack Article III standing to raise them.

        Lastly, Vineyard Wind explained that Plaintiffs lack standing to bring various claims

related to horseshoe crabs, sea turtles and other unidentified marine mammals, military radar,

unspecified “national security issues,” and unexplained “food supply” concerns were non-

justiciable generalized grievances. Doc. No. 86 at 11-12. Plaintiffs simply deny, without

explanation, that these are generalized grievances and stand on their opening brief. Doc. No. 90 at

40 (citing Doc. No. 67 at 12, 30-31, 34, 41). The cited pages of Plaintiffs’ opening brief, however,

only allege potential injuries to horseshoe crabs, sea turtles, etc., without attempting to show

injuries to the Plaintiffs. Thus, Plaintiffs lack Article III standing for these claims.




5
  Vineyard Wind did not contest Clean Water Act standing in particular in the Responsible
Offshore Development Alliance because the plaintiff at least generally described how the Corps’
actions could harm its members. Plaintiff’s Reply Memorandum in Support of Summary Judgment
and Response in Opposition to the Federal Defendants’ and Defendant-Intervenor’s, Vineyard
Wind, LLC, Motions for Summary Judgment, Doc. No. 77 (Jan. 31, 2023) at 4-7. In this litigation,
however, despite having the burden to establish Article III standing, the Plaintiffs have never
explained how they would be injured by the Corps’ issuance of the Section 404 permit they are
challenging.


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             D. Environmental Interests are not Germane to the Association Plaintiffs’ Purpose

             The associational Plaintiffs, Long Island Commercial Fishing Association and Sector XIII,

      have still failed to show that environmental interests, i.e., aesthetic or recreational interests in

      observing species or environmental recreation, “are germane to the organization’s purpose.” Hunt

      v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977). Plaintiffs cite to generalized

      statements in Ms. Brady’s Declaration that Long Island Commercial Fishing Association supports

      “clean, fishable waters free from pollution and navigational obstructions,” Doc. No. 90 at 12

      (citing Brady Decl. ¶ 4). 6 A second declaration by Mr. Aripotch states only, “[m]y economic and

      environmental interests as a commercial fisherman are represented by LICFA.” But no declaration

      establishes that environmental protection is part of either plaintiff’s purpose or mission. Neither

      plaintiff provided evidence of its purpose or mission, such as charters or bylaws, a history of

      environmental advocacy, or even a clear statement that the organizational mission includes

      regularly advocating on behalf of their members’ interests in the aesthetic, recreational, or spiritual

      enjoyment of the marine environment. Without evidence that these organizations exist, and have

      existed, to further the environmental interests of their members, they lack associational standing.

II.       Plaintiffs Lack Standing to Challenge the Smart From the Start Policy

             Vineyard Wind’s summary judgment brief showed that Plaintiffs could not be harmed by

      the Smart From the Start Policy (“Policy”) or the 2011 regulations for non-competitive leases.

      Doc. No. 87 at 13-15. Plaintiffs ignored these arguments and now claim that the Final EIS harmed

      them because the Policy caused BOEM to “refuse[ ] to consider any reasonable alternatives outside

      of the Vineyard Wind lease area.” Doc. No. 90 at 33. But Plaintiffs cite no evidence that the Policy



      6
        Mr. John Haran’s declaration, submitted on behalf of Section XIII, uses the same cut-and-paste
      statement as Ms. Brady’s declaration. See Doc. No. 66-5 ¶ 4 (“clean, fishable waters free from
      pollution and navigational obstructions”).


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had any impact on the Final EIS. Indeed, the term “Smart From the Start” is not found anywhere

in the Final EIS or Draft EIS. The same is true for Plaintiffs’ unsupported allegation that “the

approval of the COP constitute[s] application of Smart From the Start to the Vineyard Wind

project, which directly and adversely injured the Plaintiffs.” Id. at 34. Plaintiffs rely on unspecified

sections of Mr. Aripotch’s first declaration and Ms. Brady’s second declaration, id., but neither

declaration mentions the Policy. Nor does the COP approval or any version of Vineyard Wind’s

COP application reference this Policy.

    Plaintiffs offer rote assertions that the Policy somehow caused regulatory violations. See, e.g.,

Doc. No. 90 at 35-36 (Policy “tainted the entire leasing process and led to specific violations cited

by the Plaintiffs” through unexplained means); id. at 28, 29, 37, 42 (Policy caused unexplained

“ripple effects”). And their single attempt to grapple with record evidence fails. Plaintiffs assert

“that the policy was applied by BOEM to the [Wind Energy Area] that contains the Vineyard Wind

lease.” Id. at 37 (bold text omitted) (citing BOEM_0000116, 0000370, 0000374-0000375,

0000377, 0000379-0000380, 0000388, 0000428, 0000400, 0000558).

        Plaintiffs are wrong. None of these pages shows that the Policy “was applied” to the Lease

EA. For instance, BOEM 0000116 merely states that then-Secretary of the Interior Ken Salazar

“announced the ‘Smart from the Start’ Atlantic wind energy initiative” that “calls for the

identification of areas on the Atlantic OCS that appear most suitable for commercial wind energy

activities, and the opening of these areas for leasing and detailed site assessment activities.”

Nothing on that page, or any other, indicates the Policy influenced BOEM’s decision to perform

an EA instead of an EIS for the lease sale. Contra, e.g., Doc. No. 90 at 40-41 (“Smart From the

Start caused BOEM to forgo preparing an EIS when it issued the lease for the Vineyard Wind




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       project”). In fact, the Lease EA explains that comments on the Policy were “outside the scope of

       the EA.” BOEM 0000379-80.

           In the absence of affirmative evidence, Plaintiffs claim “we know the policy was applied to the

       Vineyard Wind lease because only an EA was performed for the entire WEA and the Vineyard

       Wind lease was issued subsequently without an EIS.” Doc. No. 90 at 38. But an EA is “for a

       proposed action that is not likely to have significant effects.” 40 C.F.R. § 1501.5(a). BOEM found

       no significant environmental effects, BOEM 0000100, and Plaintiffs never dispute this conclusion.

       Given that the lease did “not, by itself, authorize any activity within the leased area,” BOEM

       0000765, BOEM had no conceivable reason to prepare an EIS. Thus, even if BOEM applied the

       Policy to the Lease EA, it did not change the outcome and did not harm Plaintiffs.

III.       Plaintiffs’ OCSLA Claims Have no Legal or Record Basis

              Despite the myriad jurisdictional obstacles noted above, if the Court considered Plaintiffs’

       OCSLA claims on the merits, each one would fail for lack of legal authority and record support.

              A. BOEM’s Approval of the Lease and Site Assessment Plan Complied with OCSLA

              The Federal Defendants argued that Site Assessment Plan approval should be viewed in

       the context of the entire leasing process and that the Plan itself did not authorize any Project

       development. Doc. No. 73 at 15-16. In their reply, Plaintiffs stand on pages 35-37 of their opening

       brief. Doc. No. 90 at 35. 7 However, those pages do not appear to respond to the Federal

       Defendants’ point. 8 Thus, Plaintiffs have effectively abandoned their opening brief’s perfunctory


       7
         The Federal Defendants also noted that Plaintiffs never included claims regarding the Site
       Assessment Plan in their 60 day notice, Doc. No. 73 at 14, and never raised a claim challenging
       the Site Assessment Plan in their Complaint. Id. at 16, n.5. Further, claims regarding the Site
       Assessment Plan are moot as the site characterization work BOEM authorized are complete.
       8
         Plaintiffs frequently refer back to pages from their Motion for Summary Judgment, however, it
       appears that they may sometimes be using the numbers imprinted on the top of the page by the
       ECF system instead of the page numbers at the bottom of their brief and used in the Table of
       Contents and Table of Authorities. This has caused significant confusion. Where Vineyard Wind


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accusation that the Site Assessment Plan “failed to properly assess the commercial fishing effort

within the Vineyard Wind lease area,” Doc. No. 67 at 27.

       Similarly, Plaintiffs’ challenge to the Vineyard Wind lease fails on the merits. Plaintiffs’

reply brief ignored the Federal Defendants’ arguments and, simply relied upon their opening brief

to substantiate their claim. Doc. No. 90 at 35 (citing Doc. No. 67 at 35-37). Plaintiffs’ claim that

BOEM rushed through the Vineyard Wind lease is not serious. BOEM spent over 10 years from

siting to approval of the Vineyard Wind Project. The process began with the December 2010

request for interest in commercial leases off Massachusetts. 75 Fed. Reg. 82,055 (Dec. 29, 2010).

Over four years later, BOEM issued Vineyard Wind’s lease in March 2014. BOEM 770. More

than six years thereafter, BOEM finally approved the Vineyard Wind COP in July 2021. BOEM

0077150. Nothing about this Project was rushed.

       B. Resuming Review of the Construction and Operations Plan and the Draft Final EIS
          did not Violate OCSLA or NEPA

       Plaintiffs have not identified any authority affecting BOEM’s discretion to resume review

of the COP and to complete the draft Final EIS after Vineyard Wind completed its review of the

Haliade-X turbines. Nor could they because Plaintiffs’ claims here are similar to those the Third

Circuit recently rejected. In Sanofi Aventis U.S. LLC v. U.S. Department of Health & Human

Services (“HHS”), 58 F.4th 696, 702 (3d Cir. 2023), the petitioners claimed that HHS violated the

Administrative Procedure Act (“APA”) by finalizing a proposed rule previously designated

“withdrawn.” That court held that the “APA does not mention withdrawing proposed rules. Nor

has the Supreme Court. So we are reluctant to give withdrawal separate legal significance under

the APA.” Id. at 706. Thus, it rejected the petitioner’s argument that, once a proposal is withdrawn,



addresses Plaintiffs’ reference back to their Motion for Summary Judgment, it has checked both
types of page numbers and relied on whichever numbers appear to make the most sense in context.


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“if an agency later changes its mind, it must start over” as “nothing in the APA says that.” Id. Here,

Plaintiffs emphasize the word “terminated,” Doc. No. 90 at 48, but like the word “withdrawn,” it

has no legal significance and cannot force BOEM to “start over.”

       Plaintiffs’ reply also claims, for the first time, that BOEM “reviv[ed] its review under the

hurry-up process initiated by Smart From the Start.” Id. at 49. Courts “have held, with a regularity

bordering on the monotonous, that issues advanced for the first time in an appellant’s reply brief

are deemed waived.” Waste Mgmt. Holdings, Inc. v. Mowbray, 208 F.3d 288, 299 (1st Cir. 2000)

(citing cases). But even if the Court considers this improper argument, it fails because the decision

to resume review never mentioned the Policy.

       C. BOEM’s Review of the Haliade-X Turbine Did Not Violate OCSLA

       Plaintiffs never explain how BOEM’s review of the 13-megawatt Haliade-X turbine

violated OCSLA. They do not dispute that the turbine fits within the Project Design Envelope used

for both Vineyard Wind’s COP application and the Final EIS. 9 Instead, Plaintiffs claim, without

elaboration, that BOEM’s memorandum on the Haliade-X turbine “does not satisfy OCSLA’s

requirement that BOEM ‘ensure’ its actions meet the statute’s requirements.” Doc. No. 90 at 49.

But Plaintiffs never show how the memo was deficient or how selecting the Haliade-X turbine

could violate the statutory requirements under 43 U.S.C. § 1337(p)(4). The record shows that

BOEM fully considered the requisite OCSLA factors in approving the Vineyard Wind Project

Doc. No. 73 at 17-19.



9
  Plaintiffs insinuate that BOEM did not actually review the Haliade-X turbine parameters because
BOEM purportedly “did not alter the size of the turbine monopiles or scour protection from the
Draft EIS, which analyzed 9 [megawatt turbines], to the Final EIS.” Doc. No. 90 at 49 n. 10 (citing
BOEM 35174-75 and BOEM 69350-51). But no alteration was needed because “the diameter,
length, and penetration of the monopile foundations that will support the GE-Haliade-X [wind
turbine generator] are within the COP envelope” analyzed in the Draft EIS. BOEM 67700.
Plaintiffs do not dispute this either.


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       D. Plaintiffs OCSLA Statutory Construction Arguments Have No Legal Support

       OCSLA Section 8(p)(4) states that “The Secretary shall ensure that any activity under this

section is carried out in a manner that provides for” 12 enumerated factors, including “safety,”

“protection of the environment,” and “prevention of interference with reasonable uses (as

determined by the Secretary).” 43 U.S.C. § 1337(p)(4). Plaintiffs improperly read the word

“ensure” in isolation to argue that BOEM may not approve a COP unless there is a “guarantee”

that there will be no adverse impact on any of these factors. Doc. No. 90 at 19-21. That

interpretation improperly emphasizes “ensure” and expands its meaning in a manner that neglects

the remaining statutory language in which the phrase appears. See, e.g., Davis v. Mich. Dep’t of

Treas., 489 U.S. 803, 809 (1989) (“the words of a statute must be read in their context with a view

to their place in the overall statutory scheme”).

        No party disputes “that the Secretary must perform the duties set forth in the section.” Doc.

No. 90 at 18-19. But those duties require evaluating how offshore energy projects are “carried out

in a manner that provides for” the enumerated factors. To “provide for” means “To make ready,”

or “To take measures in preparation.” Webster’s II New Riverside University Dictionary (1988)

at 948. As Federal Defendants explained (Doc. No. 73 at 35-36; Doc. No. 93 at 4-5), that language

is “mandatory as to the object to be achieved” but leaves BOEM with discretion to determine what

measures alternative energy projects should take to “provide for” “safety,” “protection of the

environment,” “conservation of natural resources,” and “prevention of interference with

reasonable uses (as determined by the Secretary).”

       Plaintiffs’ absolutist reading of § 1337(p)(4) – “the mandatory, discretionless, and specific

duty to protect, e.g., ‘safety’ and ‘the environment,’” Doc. No. 90 at 22 – directly conflicts with

the express statutory direction to “provide for” those factors. 43 U.S.C. § 1337(p)(4). All of the

factors require discretion and expertise to determine how to “provide for” them. For instance, the


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command to ensure that a wind energy project is carried out in a manner that “provides for …

safety,” id. § 1337(p)(4)(A), is not self-executing. An element of discretion is involved when

evaluating the potential safety risks posed by a project and to develop conditions that reduce them

to a “safe” level. Plaintiffs myopic reliance upon the word “ensure” would deny the Secretary the

discretion that Congress expressly afforded in addressing this and other statutory factors, and

would convert this statutory command into a regulatory straightjacket. Indeed, denying this

discretion would effectively prohibit the approval of any offshore renewable energy project

because they all involve some environmental impacts (e.g., vessel exhaust, cable installation) and

some risk to vessel safety from vessel or helicopter traffic, pile driving operations, or navigational

hazards from the structures themselves. Congress could not have intended that result when it

amended OCSLA specifically to allow those types of projects. Cf. Dep’t of Homeland Sec. v.

MacLean, 135 S. Ct. 913, 920 (2015) (rejecting a “broad interpretation” of statutory text that

“could defeat the purpose” of the statute).

       E. Plaintiffs Have No Evidence Supporting an Improper “Pre-Determination” Claim

       As Vineyard Wind demonstrated in its opening brief, Doc. No. 87 at 23-24, Plaintiffs offer

no evidence to meet the high standard for an improper “pre-determination” claim. Plaintiffs would

need to make “a clear and convincing showing of an” agency’s “unalterably closed mind on a

matter critical to disposition of the proceeding.” Lead Indus. Ass’n, v. EPA, 647 F.2d 1130, 1179-

80 (D.C. Cir. 1980). In fact, Vineyard Wind provided record evidence showing that BOEM

approved a Project configuration that Vineyard Wind did not propose and initially opposed. See

Doc. No. 87 at 21. Once more, Plaintiffs declined to engage with this evidence and elected to stand

on their opening brief’s disproven allegations regarding the Smart From the Start Policy. Doc. No.

90 at 27. Their only addition is a quote from a 2009 Federal Register notice by BOEM’s

predecessor agency, stating that “[t]hrough this type of coordination” with other agencies, “we


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      expect to be able to speed the process of developing renewable energy projects in the OCS.” 74

      Fed. Reg. 19,638, 19,643 (Apr. 29, 2009). Plaintiffs never explain how this is “impermissibly fast-

      tracking the entire process” or violates OCSLA. Doc. No. 90 at 27. Plaintiffs’ proffered statement

      from 2009 hardly amounts to “clear and convincing” evidence that BOEM improperly pre-

      determined to approve Vineyard Wind’s COP twelve years later.

IV.      Plaintiffs’ Endangered Species Claims are Procedurally Barred and Otherwise Fail on
         the Merits

             Plaintiffs concede they did not comply with the ESA mandatory pre-suit notice

      requirement. They claim “the argument is a red herring” because they are challenging the

      September 2020 BiOp, not the 2021 BiOp. Doc. No. 90 at 51. But, the superseded 2020 BiOp no

      longer has any legal effect and, therefore, cannot injure anyone. Thus, the Court cannot vacate

      such a document, depriving Plaintiffs of any potential relief. For this reason, Plaintiffs cannot avoid

      the mandatory pre-suit notice requirement claiming to challenge the 2020 BiOp.

             Plaintiffs’ brief ignores Vineyard Wind’s arguments as to why Plaintiffs’ ESA claims fail

      on the merits. Doc. No. 87 at 16-18. Instead, it incorporates “by reference the ESA arguments

      made in the Opposition/Reply brief in RODA and Melone,” Doc. No. 90 at 51, even though the

      RODA brief contains no response to Vineyard Wind’s arguments and Melone raised no ESA

      claims. Therefore, Vineyard Wind’s arguments – that the Project will not harm right whale critical

      habitat, that the ESA does not require a cumulative effects analysis, and that Plaintiffs’ various

      other complaints are unrelated to a jeopardy analysis – are unrebutted.

             Lastly, the only argument Plaintiffs elaborate upon is one they raise for the first time in

      their reply brief: that the Federal Defendants’ “no jeopardy” determination is invalid because it

      did not consider the potential biological removal (“PBR”) level for the North Atlantic right whale

      as discussed in an extra-record document created a year after BOEM issued the October 2021



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     BiOp. Doc. No. 90 at 50-51. Plaintiffs never raised the PBR in their motion for summary judgment

     and, therefore, it cannot be raised for the first time in their reply. Mowbray, 208 F.3d at 299. Even

     if considered, the claim still fails. As discussed in response to the Melone MMPA claims and the

     ACK RATs Endangered Species Act claims, the PBR is not relevant as the Federal Defendants did

     not authorize even a single right whale death or injury. See Melone v. Coit, Case No. 21-cv-11171-

     IT, Doc. No. 167 at 7; ACK Residents Against Turbines v. U.S. Bureau of Ocean Energy Mgm’t,

     Case No. 21-cv-11390-IT, Doc. No. 96 at 18. In other words, the metric has no bearing on the

     jeopardy analysis when the Project will not “remove” any right whales.

V.      Federal Defendants Complied With NEPA

            Vineyard Wind and the Federal Defendants provided extensive arguments demonstrating

     why Plaintiffs’ NEPA claims lack any legal merit. Once again, instead of responding to those

     specific arguments, Plaintiffs offer only perfunctory rebuttals, and present new arguments lacking

     any legal or record support.

            A. BOEM Examined Alternative Locations

            Vineyard Wind explained that BOEM considered alternative locations for offshore wind

     development during the Lease EA process. Doc. No. 87 at 19-20. Plaintiffs offer only a cursory

     argument that this analysis “does not substitute for a review of reasonable alternative locations”

     because “every step in the process leading up to the COP approval must comply with NEPA ‘to

     the fullest extent possible.’” Doc. No. 90 at 47-48 (citing 42 U.S.C. § 4332). But reliance upon

     this hortatory language does not advance Plaintiffs’ claim of NEPA non-compliance. Section 4332

     is a Congressional policy statement that, “to the fullest extent possible … the policies, regulations,

     and public laws of the United States shall be interpreted and administered in accordance with the

     policies set forth in this chapter.” This unassailable admonition involves no direction as to how

     and when BOEM should review alternative project locations. Similarly, Flint Ridge Development


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Company v. Scenic Rivers Association, 426 U.S. 776, 785 (1976), in the context of finding NEPA’s

goals inapplicable to the situation confronting the Department of Housing and Urban

Development, quotes this language as general legal background in stating that federal agencies

must “analyz[e] the consequences of, and alternatives to, the proposed action.” Lastly, Plaintiffs

cite to 40 C.F.R. §§ 1503.4 and 1506.6, requiring agencies to respond to public comments and

provide the public an opportunity to comment on NEPA documents, respectively. Neither is

relevant to Plaintiffs’ summary allegation that BOEM should have pointlessly and repetitively

analyzed alternative locations in multiple environmental reviews.

       B. BOEM’s Reasonably Rejected Alternative F

       Plaintiffs’ opening brief complained that BOEM rejected Alternative F, which would have

required a two- to four-nautical mile wide transit lane through the Project. BOEM reasoned that

the Alternative F configuration was technically complex, would lead to project delays, and not

meet the Project’s purpose and need. Doc. No. 67 at 29-30. Vineyard Wind noted that BOEM also

rejected Alternative F for its larger environmental impacts, transmission losses, the U.S. Coast

Guard’s recommendation against it, and its overall unpopularity with the public. Doc. No. 87 at

20-23. Contrary to Plaintiffs’ unsupported accusation that “Vineyard Wind decided unilaterally”

to reject Alternative F or that BOEM “impermissibl[y] deferred to Vineyard Wind,” Doc. No. 67

at 29-30, Vineyard Wind showed that BOEM ultimately selected a mix of alternatives, including

aspects that Vineyard Wind did not favor. Doc. No. 87 at 21-22. Plaintiffs’ only response is to

claim “that Vineyard Wind’s own preferences outweighed those of the commercial fishing

industry or other interested groups.” Doc. No. 90 at 48 (citing BOEM 76823). The Record of

Decision page cited by Plaintiffs, however, provides a reasonable and rational explanation of why

BOEM found that Alternative F was a poor fit for the Project. Plaintiffs offer no substantive,

record-based critique of BOEM’s decision.


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       C. The Purpose and Need Statement is Valid

       The Federal Defendants explained that the Final EIS’ purpose and need statement properly

considered both the needs and goals of the applicant and satisfied BOEM’s statutory duty to enable

orderly development of the Outer Continental Shelf. Doc. No. 73 at 19-21 (citing Citizens Against

Burlington, Inc. v. Busey, 938 F.2d 190, 196 (D.C. Cir. 1991) and Beyond Nuclear v. U.S. NRC,

704 F.3d 12, 19 (1st Cir. 2013)). Plaintiffs respond by arguing that Busey and Beyond Nuclear do

not apply, and Vineyard Wind’s goals should receive no consideration, because Vineyard Wind is

not a private sponsor seeking federal approval. Doc. No. 90 at 43-44. Instead, Plaintiffs claim that

Vineyard Wind is some strange entity conscripted by the government to conceal that “BOEM was

the driving force initiating the entire Vineyard Wind project pursuant to its Smart From the Start

directive.” Id. at 43. Of course, Plaintiffs’ conspiracy theory of BOEM as a strong-man has no

record basis and clashes with Plaintiffs’ other conspiracy theory painting BOEM as a regulatory

puppet, acceding to Vineyard Wind’s every demand. See, e.g., Doc. No. 67 at 29 (Vineyard Wind

dictated that the Final EIS would not consider any federal purpose); id. (BOEM “impermissibly

acquiesced to Vineyard Wind’s major policy decisions”); id. (“Vineyard Wind decided

unilaterally” against “reorienting and respacing its wind turbine array”); id. (“BOEM acquiesced

to Vineyard Wind’s refusal to budge on transit lanes”). 10

       Well established NEPA law makes clear that a purpose and need statement need only

“briefly specify the underlying purpose and need to which the agency is responding in proposing

the alternatives including the proposed action.” 40 C.F.R. § 1502.13. See also Allen v. Nat’l Insts.

of Health, 974 F. Supp. 2d 18, 37 (D. Mass. 2013) (purpose and need statement need only be


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  Amazingly, Plaintiffs argue that “BOEM itself acted as the project’s sponsor” while claiming in
the very same paragraph that BOEM purportedly “acced[ed] to Vineyard Wind’s threat to abandon
the project.” Doc. No. 90 at 44-45. Of course, as with Plaintiffs’ other theories, there is no record
basis for any of these allegations.


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reasonable and avoid unreasonably narrowing the alternatives considered under NEPA). The

resulting range of alternatives considered is guided by a rule of reason. City of New York v. U.S.

Dep’t of Transp., 715 F.2d 732, 742-43 (2d Cir. 1983). Plaintiffs identify no relevant alternatives

that BOEM excluded because of a purportedly improper purpose and need statement. Instead, they

complain that BOEM should have considered alternative locations (which BOEM already did

under the Lease EA, see Section VII.A, supra) and should not have approved the Project at all,

Allen, 974 F. Supp 2d at 43-45, a question unrelated to the scope or reasonableness of the purpose

and need statement.

       D. The Final EIS Properly Analyzed Impacts to Commercial Fishing

       Plaintiffs’ complaints about the severity of harm to commercial fishing, Doc. No. 90 at 45-

46, misunderstand both NEPA’s obligations and the Court’s scope of review. NEPA requires

agencies to “take a ‘hard look’ at environmental consequences” that may result from federal

actions but “NEPA itself does not mandate particular results.” Robertson v. Methow Valley

Citizens Council, 490 U.S. 332, 350 (1989) (internal quotations omitted). Here, the Federal

Defendants discussed how the Final EIS provided an extensive analysis of the potential impacts to

commercial fishing. Doc. No. 73 at 25-27. In response, Plaintiffs raise only a cursory and

unsupported claim that the Final EIS did not provide “enough” analysis on unspecified aspects of

commercial fishing impacts, 11 while continuing to wrongly claim that the Federal Defendants

concluded that the area will be entirely abandoned to commercial fishing. Doc. No. 90 at 45-46.12


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   Plaintiffs cite to various pages of their opening brief as purported showing that the Federal
Defendants “did not engage in ‘detailed and careful analysis,’ but rather applied the hurry-up
principles of Smart From The Start.” Doc. No. 90 at 46 (citing Doc. No. 67 at 23-25, 28-29, 34-
41, 47-48). However, none of these cited pages discuss BOEM’s analysis of commercial fishing
impacts.
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   As the Federal Defendants explained, no agency ever concluded that the entire project area
would be abandoned by commercial fishermen, nothing in the record could support such a
conclusion, and the U.S. Army Corps of Engineers corrected the error that Plaintiffs repeatedly


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However, even if the Final EIS had concluded that commercial fishermen would abandon the area,

there would be no NEPA violation. An agency may proceed with an action even if there will be

adverse impacts: “If the adverse environmental effects of the proposed action are adequately

identified and evaluated, the agency is not constrained by NEPA from deciding that other values

outweigh the environmental costs.” Robertson, 490 U.S. at 350. Since Plaintiffs declined to

identify any aspect of the Final EIS’ analysis of commercial fishing impacts that was incomplete

or inadequate, their claim must fail.

       E. The Final EIS Appropriately Analyzed Other Potential Environmental Impacts

       The Federal Defendants explained that, contrary to Plaintiffs’ allegations, the Final EIS

provides an extensive analysis of other environmental impacts, including potential impacts to the

benthic environment, fish species, marine mammals, and sea turtles. Doc. No. 73 at 28. Plaintiffs

did not respond to these arguments other than to declare, without any supporting argument or

record evidence, that “NEPA requires more than a cursory look at environmental impacts.” Doc.

No. 90 at 46.

       F. Federal Defendants Had no Obligation to Wait Until NMFS Completed the October
          2021 Biological Opinion

       The Federal Defendants provided an extensive analysis of why BOEM was fully justified

in approving Vineyard Wind’s COP while ESA consultation for fisheries monitoring surveys was

ongoing. Doc. No. 73 at 28-31. Further, Vineyard Wind argued that Plaintiffs’ challenge to the

2020 BiOp is moot as it was superseded by its successor in October 2021, no longer has any legal

effect, and to the extent Plaintiffs are seeking a re-initiation of consultation to cure any purported



quote. Doc. No. 93 at 11-12, 30-31; Doc. No. 73 at 43-44. Sea Freeze itself admitted that “other
mobile gear fishing members have indicated that they will be able to operate if the turbines are
oriented in an east-west layout.” USACE_AR_004855. Thus, there is no record support for
Plaintiffs’ allegation.


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      defect, that consultation was already completed and resulted in the October 2021 BiOp. Doc. No.

      87 at 9, 18. Plaintiffs responded by abandoning their opening brief arguments (that BOEM issued

      the Final EIS, ROD, and COP approval “based on incomplete and inadequate data”), Doc. No. 67

      at 37, to now claim that the 2021 BiOp “has no bearing on this suit, and the Plaintiffs have already

      moved for it to be stricken from the record.” Doc. No. 90 at 50.

             Plaintiffs overlook two key facts. First, Plaintiffs’ complaint sought judicial review of the

      2021 BiOp, Doc. No. 1 ¶¶ 140-41, 191-92, 205-18, and despite their various arguments to the

      contrary, it is the only BiOp that can be subject to judicial review. Second, this Court has, to date,

      rightfully declined to strike the 2021 BiOp from the administrative record. But even if it did,

      striking the 2021 BiOp from the administrative record is not the same as vacating it. Even if the

      Court grants Plaintiffs’ motion, the 2021 BiOp would continue in effect and the 2020 BiOp would

      remain inoperative. At the end of the day, the Federal Defendants’ arguments on why it was legally

      permitted to issue federal approvals while consultation with NMFS was ongoing stand unrebutted,

      and Vineyard Wind’s arguments that the 2020 BiOp is not subject to judicial review are also

      unrebutted. Thus, even if the Court granted Plaintiffs’ motion to strike, their claims would still fail.

VI.      Vineyard Wind and the Federal Defendants are Entitled to Summary Judgment on All
         Claims Not Raised in Plaintiffs’ Motion for Summary Judgment

             Plaintiffs do not dispute that they abandoned the Sixth, Seventh, Eighth, Eleventh, Twelfth,

      Thirteenth, Fourteenth, Fifteenth, and Sixteenth claims raised in their complaint. Doc. No. 87 at

      24. Plaintiffs, however, assert that “a careful review of RODA’s MSJ brief shows that RODA’s

      arguments” that Plaintiffs claim to adopt by reference “cover issues that fall within Plaintiffs’

      Clean Water Act claims.” Doc. No. 90 at 51. Vineyard Wind’s motion provided that “careful

      review,” demonstrating that RODA raised different claims involving different regulations. Doc.

      No. 87 at 25. Plaintiffs’ general denial leaves Vineyard Wind’s argument unrebutted. Vineyard



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Wind and Federal Defendants are also entitled to summary judgment on Plaintiffs’ eighteenth,

nineteenth, and twentieth claims because no party briefed them.

       The same is true of Plaintiffs’ MMPA claims. Although Plaintiffs adopted the MMPA

arguments raised in Melone v. Coit, Case No. 21-cv-11171-IT, Vineyard Wind’s motion showed

that the claims briefed in Melone were different from those in Plaintiffs’ complaint (with one

exception). Doc. No. 87 at 26. Melone’s claims assert that BOEM (not NMFS, as Plaintiffs alleged

in their Twenty-First Claim for Relief, Doc. No. 1 ¶¶ 266-71) violated the MMPA by approving

the COP (not the Incidental Harassment Authorization, as Plaintiffs alleged). Plaintiffs, however,

claim this bait-and-switch is justified because it is “obvious” that both BOEM and NMFS are

defendants in this case and because Plaintiffs allege, for the first time anywhere, that BOEM

violated the MMPA. Doc. No. 90 at 52. Thus, Plaintiffs not only conceded they abandoned their

Twenty-First Claim for Relief, but Vineyard Wind’s argument that Plaintiffs largely abandoned

their Twenty-Second Claim is unrebutted.

       To hold otherwise would violate Federal Rule of Civil Procedure 15(a)(2). At this stage of

the litigation Plaintiffs may only amend their complaint to raise new claims “with the opposing

party’s written consent or the court’s leave.” There is ample case law prohibiting parties from

attempting to constructively amend complaints through summary judgment briefing. See, e.g.,

Calvi v. Knox Cnty., 470 F.3d 422, 431 (1st Cir. 2006) (plaintiffs may not “raise new and

unadvertised theories of liability for the first time” in summary judgment briefing); Roberts v.

Crowley, 538 F. Supp. 2d 413, 417 (D. Mass. 2008) (“It hardly bears worth mentioning that a

plaintiff cannot raise a theory of liability for the first time in a memorandum in support of a motion

for summary judgment.”). Plaintiffs neither sought nor obtained the parties’ written consent or the

Court’s leave.




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VII.         Plaintiffs Failed to Comply with Federal Rule 56(c) or Local Rule 56.1

                Vineyard Wind provided a detailed listing of how Plaintiffs violated Rule 56(c) and Local

        Rule 56.1. Doc. No. 87 at 29-33. Plaintiffs did not rebut any of the 107 instances listed. Instead,

        they declare that an affidavit from their lawyer, discussing the Court’s order for the parties to

        provide a joint statement of facts once briefing concludes, explains how “Plaintiffs complied fully

        with this Court’s orders regarding such statement.” Doc. No. 90 at 54. This is a puzzling defense

        given that the parties have not yet submitted a joint statement and Plaintiffs never explain what

        purportedly excuses them from compliance with Rule 56(c) and Local Rule 56.1. Thus, they fall

        back on general denials and accuse Vineyard Wind of not being truthful with the Court about

        Plaintiffs’ random use of record citations (“the assertion is false”). Id. Their “proof” is the lawyer’s

        affidavit, which both admits to, and denies, “scrivner’s errors,” id. (citing Mighell Decl. ¶¶ 17-19),

        but does not otherwise address, much less refute, Vineyard Wind’s demonstration that specific

        statements in Plaintiffs’ Statement of Material Facts failed to comply with Federal Rule 56(c) and

        Local Rule 56.1. 13

VIII.        Disclosure and Report Requirements Do Not Apply to Mr. Scott’s Declaration

                Plaintiffs incorrectly claim that, prior to offering the declaration of Mr. R. Douglass Scott,

        Ph.D, P. Eng., Federal Rule of Civil Procedure 26(a)(2) required Vineyard Wind to disclose his

        name and a written report of his opinions to Plaintiffs. Plaintiffs apparently fail to realize that these



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           In a footnote, Plaintiffs ask the Court to strike “the arguments made in Doc. No. 87 at 38-40, or,
        in the alternative, to strike” the entire brief. Doc. No. 90 at 54, n. 12. Setting aside that Vineyard
        Wind’s motion does not contain pages 38-40, Vineyard Wind admits it mistakenly exceeded the
        30-page limit by three pages. For this, Vineyard Wind apologizes to the Court and has limited this
        brief to 23 pages instead of the 30 pages it would otherwise have. Doc. No. 65. However, even if
        the Court struck the excess pages, the argument that Plaintiffs failed to comply with Rule 56(c)
        and Local Rule 56.1 would stand, as it ended at page 29. Nevertheless, even if the Court strikes
        the argument entirely, it is free to raise Plaintiffs’ non-compliance with the Federal and Local
        Rules, sua sponte. Vazquez-Rijos v. Anhang, 654 F.3d 122, 127 (1st Cir. 2011).


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requirements only apply to “any witness” a party “may use at trial to present evidence.” Fed. R.

Civ. P. 26(a)(2)(A) (emphasis added); see also Rule 26(a)(2)(B) (report requirement applies only

to witness subject to “this disclosure”). This matter will be decided without a trial.

                                          CONCLUSION

       For the foregoing reasons, Intervenor-Defendant Vineyard Wind asks this Court to deny

summary judgment to Plaintiff and grant summary judgment to Vineyard Wind.




Dated: March 10, 2023                                         Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 10th day of March 2023, a true and complete copy of

the foregoing has been filed with the Clerk of the Court pursuant to the Court’s electronic filing

procedures, and served on counsel of record for Plaintiffs and Defendants via the Court’s electronic

filing system.


                                                   /s/ Jack W. Pirozzolo
                                                   Jack W. Pirozzolo
